









DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00072-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

JONATHAN
BRANDON GLENN, §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 173RD

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; HENDERSON
COUNTY, TEXAS

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MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant has filed a motion to dismiss this appeal.&nbsp; The motion is signed by Appellant and his
counsel.&nbsp; No decision having been
delivered by this Court, the motion is granted, and the appeal is dismissed in
accordance with Texas Rule of Appellate Procedure 42.2.

Opinion
delivered April 19, 2006.

Panel
consisted of Worthen, C.J., Griffith, J., and DeVasto, J.

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(DO NOT PUBLISH)





